Case 1:15-cv-02015-RJS Document 60 Filed 07/11/16 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ZEFERINO CASTELAN-HILARIO, MARIO Case No. 15-cv-02015-RJS
QUIRINO, OSCAR ORTEGA, and MARCOS

GEOVANNY, on behalf of themselves and

others similarly situated,

Plaintiffs, NOTICE OF
v. BANKRUPTCY FILING

VIDA CAFE INC. d/b/a MAMAJUANA CAFE,
RANCHO VIDA LLC d/b/a MAMAJUANA CAFE,
VICTOR OSORIO, VICTOR SANTOS and

JOHN DOES 1-10,

Defendants.

 

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TO THE CLERK OF THE ABOVE-ENTITLED COURT
AND THE PARTIES TO THE ABOVE-CAPTIONED ACTION:

PLEASE TAKE NOTICE that defendant Vida Café Inc. d/b/a Mamajuana Café did,
on July 11, 2016, file a voluntary petition for relief under chapter 11 of title 11 of the United States
Code (i.e., 11 U.S.C. §§ 101, et seg.) (the “Bankruptcy Code”) with the United States Bankruptcy
Court for the Southern District of New York under Case No. 16-11978. A copy of a Notice of

Bankruptcy Case Filing confirming same is attached hereto; and

PLEASE TAKE FURTHER NOTICE, that by virtue of § 362(a) of the Bankruptcy
Code, any and all actions or proceedings in or in connection with the above-captioned action as

against Vida Café Inc. d/b/a Mamajuana Café have been STAYED.

Dated: New York, New York
July 11, 2016
PICK & ZABICKI LLP
Bankruptcy Counsel to Defendant
ida Café Inc. d/b/a Mamajuana Café

 

 

  

New York, New York 1001 7
(212) 695-6000
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United States Bankruptcy Court
Southern District of New York

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Notice of Bankruptcy Case Filing fi & Poca
(of. FEED’
“50771172016; _-

A bankruptcy case concerning the debtor(s) listed below was f a
filed under Chapter 11 of the United States Bankruptcy Code, | — ap eA ere

entered on 07/11/2016 at 5:13 PM and filed on 07/11/2016.

Vida Cafe Inc. | | = TT ne:

247 Dyckman Street 140%, ee TT sik
New York, NY 10034 Lo, oe
Tax ID / EIN: XX-XXXXXXX \ EN aa
dba Mamajuana Cafe Xt ag "WANN! wt
A Mistrial :
ON ce rt =

The case was filed by the debtor's attorney:

Douglas J. Pick

Pick & Zabicki LLP

369 Lexington Avenue, 12th Floor
New York, NY 10017

(212) 695-6000

The case was assigned case number 16-11978.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against
the debtor and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at
all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take
other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights
in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at our
internet home page http://ecf.nysb.uscourts.gov or at the Clerk's Office, One Bowling Green, New York, NY
10004-1408.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting forth
important deadlines.

Vito Genna
Clerk, U.S. Bankruptcy Court

PACER Service Center

Transaction Receipt

| 07/11/2016 17:13:53 |

 

 

 

 

 

 

 
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PACER Login: ||dp0159:2539282:0 ||ClientCode: _||

Description: [Notice of Filing |Search Criteria: |{16-11978
Bitlable Pages: [I  —_—(|[Cost: 010 |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Open New Voluntary Bankruptcy Case

U.S. Bankruptey Court

Southern District of New York

Notice of Bankruptcy Case Filing

The following transaction was received from Douglas J. Pick entered on 7/11/2016 at 5:13 PM and filed on
7/11/2016

Case Name: Vida Cafe Inc.

Case Number: 16-11978

Document Number: 1

Docket Text:
Chapter 11 Voluntary Petition for Non-Individual. Order for Relief Entered. Small Business Chapter 11 Plan due
by 5/7/2017, Filed by Douglas J. Pick of Pick & Zabicki LLP on behalf of Vida Cafe Inc.. (Pick, Douglas)

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:Petition & Schedules.pdf

Electronic document Stamp:

[STAMP NYSBStamp_ID=842906028 [Date=7/11/2016] [FileNumber=15394790-0]
[025Sbacf9c5914e876c3a32197bfcf3ba98526083 fb8bd96bf1 41 93e0b85504cf9ad
900764227725762023 8a16833f0f44b967 8fbebf29 fc203ac43.df0f2d42c]]

16-11978 Notice will be electronically mailed to:

Douglas J. Pick on behalf of Debtor Vida Cafe Inc.
dpick@picklaw.net, ezabicki@picklaw.net

16-11978 Notice will not be electronically mailed to:

United States Trustee

Office of the United States Trustee
U.S. Federal Office Building

201 Varick Street, Room 1006
New York, NY 10014
